      Case 1:06-cr-00041-MP-AK           Document 20         Filed 02/02/07    Page 1 of 2


                                                                                           Page 1 of 2


                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA

v.                                                              CASE NO. 1:02-cr-00029-MP-AK
                                                                         1:06-cr-00041-MP-AK

RAYMOND REED, JR.,

      Defendant.
________________________________/

                                           ORDER

       This matter is before the Court on Doc. 16 in case number 1:06-cr-00041, Motion to

Continue Trial, and Doc. 80 in case number 1:02-cr-00029, Motion to Continue Disposition. A

hearing on these motions was held on Thursday, February 1, 2007. At the hearing, Defendant

Reed requested a continuance in his trial, currently set for February 6, 2007, so that he may

evaluate a negotiated plea that has recently been presented him, and so that his counsel may

investigate and advise Defendant as to certain possible defenses. Defendant waives any speedy

trial objection. Also, Defendant requested a continuance in his sentencing, currently scheduled

for February 21, 2007, in order for counsel to interview mitigation witnesses and review

discovery. The Government does not object to either motion. Therefore, after considering the

matter, the motions are granted. Accordingly, it is hereby


       ORDERED AND ADJUDGED:

       1.      Defendant Reed’s Motion to Continue Trial, Doc. 16 in Case No. 1:06-cr-00041,
               is granted, and trial is continued to April 10, 2007, at 12:30 p.m.;

       2.      Defendant Reed’s Motion to Continue Disposition, Doc. 80 in Case No. 1:02-cr-
               00029, is granted, and Defendant’s sentencing is reset to Wednesday, June 20,
               2007, at 1:30 p.m.
       Case 1:06-cr-00041-MP-AK       Document 20       Filed 02/02/07   Page 2 of 2


                                                                                  Page 2 of 2


        DONE AND ORDERED this         2nd day of February, 2007


                                    s/Maurice M. Paul
                               Maurice M. Paul, Senior District Judge




Case No: 1:02-cr-00029-MP-AK
